Case 2:05-cr-20130-.]DB Document 27 Filed 07/07/05 Page 1 of 2 Page|D 28

IN THE UNITED sTATEs DISTRICT COURT FII.ED BY _;@ D_c_
FoR THE wEsTERN DISTRICT OF TENNESSEE _
wEsTERN DIVISION 05 JUL "`I AH|D= ll
THOWS?=-€.G(HJLD
UNITED sTATEs OF AMERICA, CLERK,U,_S,;'}EW;~";TC@W

W©CFB{HH§HB
Plaintiff,
Cr. No. 05_-2_0130_~3
vs.

RAFAT JAMAL MAWLAWI,

-._.d-._r-._/~_,-/-._r-._.¢-._/~._,

Defendant.

 

ORDER GRANTING ADDITIONAL TIME TO RESPOND

 

The United States has moved for additional time to respond
to the Defendant's motion to suppress. The motion is granted and
the United States has until July 18, 2005 to respond.

For good cause shown, it is so ORDERED this 1 day of July,

dba

ANIEL BREEN \
Uni ed States District Judge

2005.

    
 

UNITED sTATE D"ISIC COURT - WESTER D's'TRCT oFTENNESSEE

Notice of Distribution

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Honorable J. Breen
US DISTRICT COURT

